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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

 

EASTERN DIVISION E\D
UNITED sTATEs oF AMERICA, ) / _ 7 ,
EX. REL. KEITH MITCHELL, ) _ y _ .
Petitioner, )

) No.: 30

) bd s DOBB\NS “\
WARDEN THOMAS ROTH for nixon ) Judge: 425ng wound §§TR\@T COUR
Corre@tional Cenrer, and ATTORNEY ) GE§B\SLW$» -
GENERAL OF ILLINOIS, ) Magistrate: ` '

Respondent. )

MAGISTRATE JUD-GH DENLOW

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CERTIFICATE oF SERVICE " " ’ ' " ' t ¢z'.'

TO: Jirn Ryan, Attorney General of Illinois Keith Mitchell
100 W. Randolph Street, 12th floor Dixon Correctional Centcr

     

Chicago, Illinois 60601 Dixon, Illinois 61021

Warden Thornas Roth, Dixon Richard Divine

Correctional Center States Attorney of Cook County
2600 Brinton Richard Daley Center

Dixon, Illinois 61021 Chicago, Illinois 60601

PLEASE TAKE NOTICE that on the 14111 day of December, 2000, I caused to be
filed with the Clerk of the Unitecl States District Court, Northern District of Illinois,
Eastern Division, the enclosed Petition Under 28 USC Sec. 2254 for Writ of I-Iabeas
Corpus by a Person in State Custody.

Please be further advised, that I certify under penalty of perjury, that I served

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this notice and attached document to the above name _¢ '

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Ch ago,Illinois 60602
(773) 924-8477

  

Mail, on December 14, 2000.

 

 

 

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IN THE UNITED STATES DISTRICT COURT D;U l div 2000
NORTHERN DISTRICT OF ILLINOIS “’ '
EASTERN DIVISION {MSMEL 1 1 L_'__,_,_s_;_i`_,$ Ci§m{
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UNITED STATES OF AMER_ICA, )
EX. R_`EL. KEITH MITCHELL, ) @W®
Petitioner, ) NO:@ @._a:; .ié; §§
)
vs. ) aj
)
WARDEN TI-IOMAS ROTI-I for Dixon ) Judge: LEF’CO
Correctional Center, and ATTORNEY )
GENERAL OF ILLINOIS, ) Magistrate:
Respondent. )

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PETITION PURSUANT TO 28 USC. 2254 FOR WRIT OF
HABEAS CORPUS BY A PERSON IN STATE CUSTODY

KEITH MITCHELL (“Petitioner”), by his attorney, JOAN A. HILLMCCLAIN,
pursuant to Title 28, United States Code, Sec. 2254, moves this HONORABLE COURT
for a writ of Habeas corpus DBBKETED
ln support thereof, Petitioner states: []EC 1 8 2009
l. At the age of 15, Petitioner was charged, along with two codefendants
with multiple offenses, including but not limited to, first degree murder and attempted
first degree murder. Petitioner was charged under indictment number 92 CR 19459.
2. On July 13, 1995, Petitioner was found guilty of first degree murder
and aggravated discharged cfa fire arm pursuant to Chapter 720 of the Illinois Complied
Statutes.
3. On September 14, 1995, judgment and sentence were entered, and

Petitioner was sentenced to thirty (30) year in the Illinois Department of Corrections.

 

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4. Petitioner’s conviction was affirmed by the Illinois Appellate Court on
July 13, 1998. Petitioner filed a Post-Conviction Petition on December 31, 1998, and
said petition was denied on January ll, 1999. On June 14, 1999, the trial court set a new
Post-Conviction hearing date. On December 14, 1999, Judge Fiala denied Petitioner’s
Post-Conviction Petition.

5. On August l, 1992, at approximately 10:00 p.m., Chicago Police Officers
went to Petitioner’s horne. (R. X-l3 1-132). Petitioner was not at home. Petitioner’s
younger sister and cousin were home alone, and the police entered Petitioner’s home.
Shortly thereafter, Petitioner’s sister telephoned her mother and told her that two police
officers were inside of their home. (R. 131-132).

The officers spoke with Petitioner’s mother, Audrey Mitchell (“Ms. Mitchell”),
via the telephone, and the officers told Ms. Mitchell that they were investigating a murder
and that they wanted to speak with Petitioner. (R. X-l 32-133). Later that evening, Ms.
Mitchell, her sister-in-law, Latrica Mitchell, and her sister, Diane Streeter, located her
son, Petitioner. (R. X-l34; Ms. Mitchell’s Affidavit). At approximately, 12:00
midnight, all three women took Petitioner to 111'h Street Police Station. (R. X-l34; Ms.
Mitchell’s Affidavit). Once at the police station, Ms. Mitchell took her son to the front
desk and asked to speak with the officers who had been at her home earlier that day. (R.
X-134-l35). Petitioner and his mother were taken upstairs and placed in a small
interrogation room. (R. X-135; Ms. Mitchell’s and Petitioner’s Affidavits). y

According to both Petitioner and his mother, Detectives McDermott and Wilkins
did not advise Petitioner of his rights pursuant to Miranda; instead, both officers

immediately began to interrogate Petitioner about a homicide that had occurred at 79"]

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and Ellis. (R. X-l36; Ms. Mitchell’s and Petitioner’s Affidavits). While his mother was
present, Petitioner denied having any personal knowledge of the homicidel (R. X-l36;
Ms. Mitchell’s and Petitioner’s Affidavits). Petitioner also denied any involvement with
the homicide. (R. X-136; X-l75; Ms. Mitchell’S and Petitioner’s Affidavits).

It is undisputed that Petitioner’s mother left the interrogation room several times
to make necessary telephone calls. (R. X-137-142; X-l73-177; Ms. Mitchell’s and
Petitioner’s Affidavits). On at least two of the occasions when Petitioner’s mother left
the room, she instructed Petitioner, in the presence of the officers, not to speak with the
officers during her absence (R.- X-l37; Ms. Mitchell’s and Petitioner’s Affidavits).
Despite Ms. Mitchell’s instructions, the officers continued interrogating Petitioner during
his mother’s absence (R. X~l73-l75; Petitioner’s Affidavit).

After Petitioner’s mother returned a third time, Petitioner told her that he wanted
to go home. (Ms. Mitchell’s and Petitioner’s Affidavits). At approximately l:35 a.m.,
Petitioner’s mother told the officers that it was late and that she and her son were ready to
leave. (l\/ls. Mitchell’S and Petitioner’s Affidavits). I\/ls. Mitchell was told for the first
time that Petitioner was not going to be allowed to leave. (Ms. Mitchell’s Affidavit). At
this point the officers and Ms. Mitchell had a heated exchange; Ms. Mitchell told the
officers she was going to call a lawyer if she was not permitted to leave with her son.
(Ms. Mitchell’s and Petitioner’s Affidavits). Ms. Mitchell left the room and called for a
lawyer. (R. X-l42). l\/ls. Mitchell returned to the interrogation room and informed the
detectives that she had summoned a lawyer for Petitioner. Again, Ms. Mitchell was
required to leave the interrogation room to call their lawyer. However, upon her return,

the officers refused to allow Ms. Mitchell to reenter the interrogation room and threatened

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to arrest her if she attempted to enter the interrogation room where her Son was being
held. (R. O 14; Ms. Mitchell’s Affidavit). Ms. Mitchell went to the lobby and waited for
their lawyer. Ms. Mitchell waited in the lobby with her sister-in~law and Ms. Streeter.
(Ms. Mitcheil’s and Ms. Latrice Mitchell’s Affidavits). Ms. Mitchell denied being angry
or fighting with her son. (R. 0 16-17; Ms. Mitchell’s Affidavit; Keith Mitchelll’s
Affidavit).

While Ms. Mitchell waited downstairs for their lawyer, Assistant State’s Attorney
Sharon Jefferson (“ASA Jefferson”) and the detectives proceeded to further question
Petitioner. (R. 176-177; Petitioner’s Affidavit). Petitioner asked for his mother.
(Petitioner’s Affidavit). He was told that his mother had left the police station
(Petitioner’s Affidavit). At some point a youth officer was summoned; however,
Petitioner believed the youth officer was another police officer and was unaware of the
role of a youth officer, so he continued to ask for his mother. (Petitioner’s Affidavit).
ASA Jefferson attributes an oral inculpatory statement to Petitioner. (R. X~99-109).
Detective McDermott testified that Petitioner was arrested at 2:00 or 3:30 a.m. (R. L 32).
It should be noted that Youth Of`ficer Stevenson testified that he was not summoned to
the interrogation room where Petitioner was being held until sometime between 2245 a.m`
and 3:00 a.m.

i`he trial court denied Petitioner’s request to quash and suppress the foregoing
statement, and the statement was admitted into evidence during Petitioner’s trial.

6. At trial, ASA Jefferson testified that she introduced herself to Petitioner
and his mother and then proceeded to interrogate Petitioner. (R. X 94-101). ASA

Jefferson further testified that during her interview with Petitioner, while Ms. Mitchell

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was present, Petitioner denied any involvement with the homicide (R. X 99-101). ASA
Jefferson testified that after Petitioner’s mother left the room, Petitioner requested to
speak with the detectives and ASA Jefferson outside of the presence of his mother. (R. X
102-104).

ASA Jefferson testified that during Petitioner’s mother’s absence, Youth Officer l
Stevenson, was present while she interrogated Petitioner. She further testified that
Petitioner admitted his involvement in the shooting (R. X-109). Shortly after obtaining
the inculpatory statement from Petitioner, ASA Jefferson testified that she learned that a
lawyer was at the`station demanding to speak with Petitioner. (R. X-109).

7. ASA Jefferson’s testimony regarding her alleged meeting with Petitioner and
his mother was clearly impeached on cross examination (R. X-l 16-1 17; Exhibit F, ASA
J'efferson’s Memo). ASA Jefferson wrote a detailed memorandum regarding her contact
with Petitioner, neither her detailed memorandurn, nor her Felony Review Polder
mentioned any contact, conversation or meeting where Petitioner and Petitioner’s mother
were both present (R. X-l 16~117', Exhibit F, ASA lefferson’s Memo). Prior to her
testimony, ASA Jef`ferson never mentioned the fact that she had any contact with
Petitioner’s mother.

Furthermore, the fact that ASA Jefferson allegedly met with Petitioner and his
mother and advised him of his Miranda rights was never memorialized in any police case
report, supplemental report, or any other police report. (Exhibit D, Police Report
referencing Petitioner’s contact with ASA Jef`ferson). Equally important, the police
officers who were supposedly present with ASA Jefferson when she met with Petitioner

and Ms. Mitchell authored a report which details a meeting where the only participants

 

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were Petitioner, ASA Jefferson and the police officers The report is conspicuously
silent about the whereabouts of Ms. Mitchell

Ironically, according to the police officers’ report, after ASA Jefferson arrived to
take Petitioner’s statement, she specifically asked him if he wanted to have his mother or
any other family member present (Exhibit D, p.6). And, of course, Petitioner (a
frightened fifteen year old) states no. Youth Officer Stevenson testified that he did not
prepare any report regarding his contact with Petitioner. There is no evidence of what, if
anything, Youth Officer Stevenson did to protect Petitioner’s right.

8. q Petitioner denied arguing with his mother. Further, Petitioner denied he
wanted to speak with the detectives and ASA Jefferson outside of the presence of his
mother. (Petitioner’s Affidavit).

9. Petitioner testified that on one occasion when his mother left the
interrogation room, at least five (5) officers entered the room and started intimidating
him. (R. P.9, 26). One of the detectives told Petitioner that if he confessed to shooting

at least one person he would receive probation, and not go to jail. (R. P 7-11).

lO. Detective McDermott testified that during Petitioner’s mother’s long
absence from the interrogation room he believed that she was somewhere in the building,
either in the cafeteria or washroorn. (R. R 8). There is no evidence that any of the
detectives or police officers went to locate Ms. Mitchell to tell her that Petitioner wanted

to speak with the officers outside of her presence

l l. Petitioner stated that he was “scared” of the police officers, and he

believed that he had to speak with the officers (R. P 24-25).

 

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12. Neither the police officers, nor ASA Jefferson had Petitioner execute a
waiver of rights form which is commonly used for such interrogations The waiver of
rights form would have verified that Petitioner was advised of his rights under Miranda.
Miranda v. Arizona, 384 U.S. 436 (1966).

13. On August 2, 1992, although a recent eight grade graduate, Petitioner did
not understand the terms “constitutional rights.” Further, Petitioner did not understand
his Miranda warnings (Petitioner’s Affidavit).

14. At trial, Petitioner testified that on July 22, 1992, he was not involved in
the shooting incident, and that he did not know the deceased (R. FF 50; FF 49). Further,
Petitioner again denied making an oral confession to the detectives and ASA Jefferson.
(R. FF 56). Petitioner denied being in a gang and being present for the gang initiation of
Gene Keller. (R. FF 74-'75).

15. There was no physical evidence or eye witness evidence offered by the
State to establish a nexus between Petitioner and the shootings The only evidence
linking Petitioner to the shooting of July 22, 1992 is the oral statement testified to by the
police officers and A.S.A. Jefferson.

16. In the State’s rebuttal case, Gene Keller testified that Petitioner was
present at his gang initiation. (R. GG 40). However, Gene Keller later executed an
affidavit where he admitted that he lied against Petitioner in exchange for “not being
prosecuted for” fleeing the scene of an accident and eluding the police (Exhibit E). The
foregoing plea negotiation was never disclosed to Petitioner.

17. During the Petitioner’s trial, the State submitted Iilinois Pattern Instruction

(“I.P.I”) 3.06. I.P.I. 3.06 assumed that Petitioner made the oral statement to the

 

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detectives and ASA Jefferson. I.P.I. 3.06 does not include the language “it is for you to
determine whether defendant made the statement” which is included in I.P.I. 3.06-3.07.
Despite the fact that Petitioner denied making the statement, Petitioner’s attorney did not
object to the incorrect jury instruction being given. (R. GG 20). Here, the jury was given

an instruction that the statement attributed to Petitioner was indeed made by Petitioner.

ARGUMENT
1. A CONFESSION OBTAINED WHEN PETITIONER WAS A MINOR
IS INVOLUNTARY WHERE THE POLICE CONDUCT
FRUSTRATED HIS PARENT’S EFFORTS TO SAFEGUARD HIS

CONSTITUTI()NAL RIGH'I` TO REMAIN SILENT AND TO
CONSULT WITH AN ATTORNEY DURING INTERROGATION.

At all times relevant herein, Petitioner was a fifteen year old black male being
g reared by a single mother. It behooves this Court to not only examine the totality of the
facts surrounding Petitioner’s statement, but this Court must examine sociological
factors, i.e., race, gender, education, that obviously played a significant role in what
occurred The courts cannot continue to ignore the fact that a person’s race, gender,
education, financial resources are equally relevant in how law enforcement view and treat
potential suspects Derrick A. Bell, Race, Racism, andAmeri'can Law (l973).
Historically, the rights of members of an underrepresented group are often
slighted, and sometime outright ignored by law enforcement officers A. Leon
Higginbotham, fn A Matter ofColor (1978). Not only does Petitioner belong to race who
rights have often been, and continue to be, abridged, but he was a minor who had recently

graduated from eight grade and was attending his first year of high school at the time he

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was interrogated by police officers and the assistant state’s attomey. Nonetheless, the
trial court held Petitioner to the same standard as an intelligent mature adult.

The federal constitution guarantees all United States citizens protection from self-
incrimination. U.S. Cont. amend. V. For a confession to be admissible at trial it must be
made freely and voluntarily and without any implied promises, however slight, nor by the
exertion of improper influences Malloy v. Hogan, 378 U.S. l (1964).

Additionally, the state of Illinois provides juveniles with an additional safeguard
to the fifth amendment by imposing a statutory duty on a law enforcement officer who
has taken a juvenile in custody to immediately notify a parent so that the parent may
confer and counsel with the minor before interrogation 705 ILCS 405 /5-6; People v.
Montcmez, 273 Ill. App.3d 844, 652 N.E.2d 1271 (151 Dist. 1995) (failure to have an
opportunity to confer with parent or concerned adult is material in determining whether
minor’s statement was voluntary).

The Illinois courts in determining whether a confession was voluntary have
considered the defendant’s age, education, intelligence experience physical condition,
the length of the interrogation, the existence of threats, promises, or physical coercion,
whether the confession was induced by police deception, and whether the accused was
informed of his constitutional rights People v. Martz`n, 102 Ill.2d 4l2, 427, 466 N.E.2d
228, 230, (151 Dist. 1984); People v. MacFarland, 228 lll.App.3d 107, 592 N.E.2d 471
(1992).

The Illinois courts have consistently found that a statement is involuntary where
police officers have frustrated a parent’s efforts to confer with his minor child prior to or

during interrogation fn re J.J. C., 294 Ill.App.Sd 227, 689 N.E.2d 1172 (l51 Dist. 1998)

 

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(staternent involuntary where juvenile’s parents are present and request to confer with
their child was refused); In re V.L. T., 292 lll.App.Bd 728, 686 N.E.2d 49 (1St Dist. 1997)
(minor’s statement involuntary where officers failed to allow minor to confer with her
grandmother.); People v. Brown, 182 Ill.App.Bd 1046, 538 N.E.2d 909 (ls' Dist. 1989)
(minor’s statement involuntary where officers were instructed by parent to contact her if
minor was to be questioned again). Further, the presence of a youth officer does not per
se make the statement voluntary. People v. Fuller, 292 lll.App.3d 651, 686 N.E.2d 6 (l“
Dist. 1997).

The benchmark for determining that a statement is voluntary is whether the will of
the accused was overborne at the time the statement was obtained. People v. Brown, 169
Ill.2d 132, 661 N.E.2d 287 (1996). Also, voluntariness is to be determined by the totality
of the circumstances People v. Travz's, 122111.App.3d 671, 462 N.E.2d 654 (ls‘ Dist.
1984).

Herein, Petitioner’s mother, Ms. Mitchell, took him to the police station at 12:00
midnight A reasonable inference can be drawn from the facts that Ms. Mitchell did not
consult with a lawyer prior to taking Petitioner to the police station. Equally clear from
the record is the fact that Ms. Mitchell did not take a lawyer to the police station with her
and her son; instead, she went to the police station with her sister-in-law and a friend.

In examining what occurred after Petitioner arrived at the police station, this
Court must find that the police officers’ and ASA Jefferson’s conduct was highly
suspicious and resulted in a violation of Petitioner’s constitutional rights According to
the officers or detectives when Ms. Mitchell and Petitioner were seated in an

interrogation room, the detectives stated that they informed Petitioner of his rights per

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Miranda,. and Petitioner denied any knowledge of the shooting that occurred on July 22,
1992. Sometime later, after Ms. Mitchell had left the interrogation room for a brief
period, the detectives and ASA Jefferson claimed that Petitioner wanted to speak to them
while his mother was out of the room.

What happened next is greatly disturbing The detectives and ASA Jefferson
interrogated Petitioner under the auspices that Petitioner had provided them with
permission to speak with him. The problem here is that neither the detectives nor the
ASA Jefferson attempted to locate Ms. Mitchell to tell her that her son had asked to speak
with them outside of her presence The Brown case clearly articulated the premise that
when the police knows of a parent’s presence in a station, the police officer has an
affirmative duty riot to question the minor without parental consent. People v. Brown, 182
lll.App.3d 1046, 538 N.E.2d 909 (lSt Dist. 1989). Detective McDermott testified that he
believed that Ms. Mitchell was somewhere in the building, either in the cafeteria or
washroom. In any event, it is clear from the record that the officers and the prosecutor
had an affirmative duty to consult with Petitioner’s mother before speaking with
Petitioner outside of the presence of his mother. People v. Brown, 182 Ill.App.3d 1046,
538 N.E.2d 909 (lSt Dist. 1989).

The detectives and ASA Jefferson attorney knew that Ms. Mitchell was there to
protect the rights of her son. The policy rationale underlying, and indeed the linchpin of
the Illinois Juvenile Code is to permit the parents of a juvenile to act as a buffer between
the juvenile and law enforcement 705 ILCS 405/5-6.

Certainly, Ms. Mitchell was doing the best she could to protect Petitioner until she

was barred from reentering the interrogation room. On at least two occasions before

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leaving Petitioner alone, she instructed Petitioner not to speak with the police When Ms.
Mitchell realized that Petitioner was not going to be allowed to leave with her, she
immediately left the interrogation room to call a lawyer. Given these facts, it is
implausible to conceive that Ms. Mitchell would simply leave her son.

The mere fact that Ms. Mitchell came to the police station with her son and
advised him, undeniably establishes that she wanted to protect her son’s rights and should
have continued to be allowed to confer with Petitioner. In re .]. O., 231 Ill.App.3d at 855,
596 N.E.2d 1285 (1St Dist. 1992). What is plausible is the fact that when the police
realized that Ms. Mitchell was not going to permit them to continue to interrogate her son
without a lawyer, the detectives had to bar her access to her son. What better way to get a
statement from a juvenile than to convince the juvenile that his mother had left the
station, abandoned him and make promises of leniency. Unlike the Brown case, where
the police ignored the request of the mother of the juvenile to be notified of further
interrogation, the police in the instant case went a step further and deliberately prohibited
Ms. Mitchell’s continued access to Petitioner. People v. Brown, 182 Ill.App.3d 1046, 538
N.E.2d 909 (lst Dist. 1989). Petitioner would not have made an inculpatory statement
had Ms. Mitchell been permitted to return to the interrogationl

Additionally, the mere fact that Youth Officer Stevenson was brought into the
interrogation room does not change anything. There is no indication that Youth Officer
Stevenson was acting in the best interest of Petitioner. The record contains no evidence
that Youth Officer Stevenson ever spoke with Petitioner alone and attempted to establish
a relationship with Petitioner. The absence of Petitioner’s mother to intervene on his be

behalf obviously resulted in coercion If Petitioner’s mother was not going to be allowed

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to continue her vigilance over her son’s rights, Petitioner should have been afforded a
lawyer to advise him before interrogation Thus, based on the totality of the
circumstances it is patently clear Petitioner’s statement was involuntarily obtained.

It should be further noted, that the prosecutor had an affirmative obligation to
Petitioner to afford him constitutional protection In light of the fact that ASA Jefferson’s
credibility was significantly impeached, her testimony must be afforded limited, if any,
weight The combined conduct of the detectives and ASA Jefferson was outrageously
egregious, and is an affront to justice

ASA Jefferson was definitely impeached by her own report regarding her contact
with Petitioner. ASA Jefferson’S memorandum never once does she mentioned this
alleged exculpatory statement Petitioner made to her allegedly while his mother was
present As a matter of fact, ASA Jefferson’s memorandum does not even mention Ms.
Mitchell. Additionally, ASA Jefferson was further impeached by the detectives’ report
Again, there is no mention of the fact that Ms. Mitchell was ever in the interrogation
room with Petitioner at the time Petitioner allegedly made an exculpatory statement to
ASA Jefferson. Despite the impeachment of ASA Jefferson, the trial court admitted the
alleged oral statement of Petitioner. This statement was the only evidence linking
Petitioner to the July 22, 1992 shooting Absent this alleged oral statement, the State had
no case against Petitioner.

The obvious violations by the detectives and ASA Jefferson hampered
Petitioner’s constitutional rights guaranteed by the fifth amendment Thereby, Petitioner
was denied a fair trial. Accordingly, Petitioner respectfully ask this Court to grant his

Habeas and vacate the judgment of conviction imposed by the trial court

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II. PETITIONER WAS DENIED HIS SIXTH AMENDMENT
RIGHT TO EFFECTIVE ASSISTANCE OF COUNSEL
WHERE TRIAL COUNSEL FAILED TO OBJECT TO
THE WRONG ILLINOIS JURY PATTERN INSTRUCTION
BEING GIVEN 'I`O THE JURY.

The sixth amendment right guarantees that a criminal defendant will not be
convicted of an offense without effective assistance of counsel. Strz'ckland v.
Washington, 466 U.S. 688 (1984). In Strickland, the Supreme Court enumerated the
principles governing a defendant’s claim that his attorney rendered constitutionally
ineffective assistance at trial. Id. at 466 U.S. 688 (1984). The benchmark for judging a

§ claim of ineffectiveness is whether counsel’s conduct so undermined the proper
functioning of the adversarial process that the trial cannot be relied upon as having
produced a just result Ia’. at 466 U.S. 688 (1984); Unitea' State v. Crom'c, 466 U.S.684
(1984).
The burden is on the defendant to establish the two components of Strfckland; (l)

4 that counsel’s performance was constitutional deficient, and (2) that the deficiency

prejudiced defendant’s position.

The Performance Component
Strz'ckland requires a reviewing court to determine whether in light of all the
v circumstances the identified acts or omissions were outside the wide range of
professionally competent assistance 466 U.S. at 690; Kimmelman v. Morrfson, 477 U.S.
356 (1986). ln the instant case, trial counsel at a critical stage failed to render competent

representation when he did not object to a glaring error by the court The State offered

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I.P.I. 3.06 which assumed that the oral statement Petitioner denied making was indeed
made by Petitioner. Illinois Pattern Jury Instructions provide two versions of the
instructions relating to statements or confessions One version assumes that the statement
was made The other version includes language that leaves it to the province of the jury
to determine whether it believe the statement was made

Although, the State offered the instruction that assumed Petitioner made the
statement7 defense counsel did not object to the instruction being giving Defense
counsel knew that the State’s case rested on the alleged oral statement attributed to
Petitioner. Equally important defense counsel knew that Petitioner denied making that
particular statement Based on the facts presented to the jury counsel had an obligation to
object to the State’s version of the instruction and request the correct version of the
instruction Defense counsel failure to act on Petitioner’s behalf and exercise correct
knowledgeable advise at the instruction conference denied Petitioner’s continued

meaningful participation in his trial. Accordingly, the first prong of Strickland is met

The Prejudice Component
Strz'ckland held that “an error by counsel, even professionally unreasonable does
not necessarily warrant setting aside the judgment of a criminal proceeding if the error
had no effect on the judgment” Id. at 688.` However, if trial counsel’s incompetence
prejudiced the defendant defendant need only show a “reasonable probability that, but
for counsel’s unprofessional error, the results of the proceedings would be different.” Id.

at 694.

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There can be no question in the instant case that defense counsel’s ineffectiveness

caused substantial prejudice to Petitioner. There is more than a reasonable probability
that but for defense counsel’s failure to request the correct instruction Petitioner would
have been acquitted Here, the State’s entire case rested on the alleged oral statement of
Petitioner. The obvious bias and motive of the detectives and ASA Jefferson to create or
coerce a statement from Petitioner was painfully apparent The detectives and ASA
Jefferson wanted a conviction, and they needed a statement from Petitioner for a
conviction Based on the facts surrounding the obtainment of the statement, clearly the
statement is inherently unreliable With the correct instruction the jury could have
reasonable deduced that the statement was not made by Petitioner. Herein, the jury was
denied the ability to determine whether the statement was made by Petitioner; instead, the
jury was told that Petitioner made the statement The outcome of the jury deliberations
would have been different if defense counsel would have objected to the State’s version
of the instruction and requested the version that included the language “it is for you to
determine whether defendant made the statement” Thus, defense counsel failure to act
knowledgeany resulted in Petitioner being found guilty.

Based on all the facts and augment set forth herein Petitioner respectfully asks
that this Court enter an Order granting his Habeas

18. Petitioner was represented at trial by Craig Katz; on appeal by Gordon
Berry, State Appellate Defender; and at post conviction by Frederick Cohn.

19. Petitioner has no other sentence to served after he completes the sentence

imposed by the trial court

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20. Petitioner’S Affidavit is Exhibit A, Ms. Mitchell’s Affidavit is Exhibit B,

and Latrica Mitchell’s Affidavit is Exhibit C.

WHEREFORE, Petitioner respectfully requests that this Court vacate the

      

  

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Jo rtc-unum crain
33 .LaSalle,S ' 00
Ch1 ago,Illinois 60602
(773) 924-8477

   

 

DECLARATION

’l`he undersigned declare under penalties of perjury that the l-Iabeas Petition herein
has been authorized by Petitioner, KEITH MITCHELL. Petitioner’s affidavit is attached
herein. This Petition is true and accurate and based », trancripts, affi - its and police
reports

  
 
 

   

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A orn`éy for Petitioner
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